                                                         Case 5:20-mc-00024-JGB-SP Document 20 Filed 02/26/21 Page 1 of 4 Page ID #:230



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                                                                     Electric Incorporated Nevada
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                                                                8                     UNITED STATES DISTRICT COURT
                                                                9                   CENTRAL DISTRICT OF CALIFORNIA
                                                               10                               EASTERN DIVISION
                                                               11 INTERIOR ELECTRIC                    Case No. 5:20-mc-00024-JGB-SP
MARQUIS AURBACH COFFING




                                                                  INCORPORATED NEVADA, a
                                                               12 Nevada corporation,                       DECLARATION OF CHAD F.
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                           CLEMENT, ESQ. CLARIFYING
                                                               13                            Movant,       ATTORNEYS’ HOURLY RATES
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14         vs.
                                                               15 MELINDA BEVERLY; and        Related to Action Pending in the U.S.
                                                                  SCHIFF & SHELTON,           District Court for the District of Nevada,
                                                               16 ATTORNEYS AT LAW,           Interior Electric Incorporated Nevada v.
                                                                                              T.W.C. Construction, Inc. et al., Case No.
                                                               17                Respondents. 2:18-cv-01118-JAD-VCF
                                                               18

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                                                               20         Pursuant to the Court’s February 24, 2021 Minute Order [Dkt. No. 19],
                                                               21 Movant Interior Electric Incorporated Nevada (“Movant”), by and through its

                                                               22 attorney of record, Chad F. Clement, Esq., of the law firm of Marquis Aurbach

                                                               23 Coffing, hereby submits its Declaration of Chad F. Clement, Esq. Clarifying

                                                               24 Attorneys’ Hourly Rates.

                                                               25         I, Chad F. Clement, Esq., declare, pursuant to 28 U.S.C. § 1746 and Cal.
                                                               26 Civ. Code § 2015.5, under penalty of perjury under the laws of the State of
                                                               27 California, that the following is true and correct:

                                                               28 / / /
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                                                                1         1.    I am a Shareholder with the law firm of Marquis Aurbach Coffing
                                                                2 (“MAC”), duly licensed to practice law in the State of California, am over the

                                                                3 age of 18 years, and I have personal knowledge of the facts stated herein,

                                                                4 except for those stated upon information and belief, and as to those, I believe

                                                                5 them to be true. I am competent to testify as to the facts stated herein in a court

                                                                6 of law and will so testify if called upon.

                                                                7         2.    I am counsel for Movant Interior Electric Incorporated Nevada
                                                                8 (“Movant”) in the instant matter, and in the underlying matter to which this

                                                                9 matter relates, Interior Electric Incorporated Nevada v. T.W.C. Construction,

                                                               10 Inc. et al., Case No. 2:18-cv-01118-JAD-VCF (D. Nev.) (the “Nevada

                                                               11 Action”).
MARQUIS AURBACH COFFING




                                                               12         3.    I make this Declaration in response to the Court’s request for
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 clarification of Movant’s attorneys’ hourly rates.
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14         4.    The Court is correct in its observation that my standard hourly rate
                                                               15 is $325/hour; the standard hourly rate of Cody S. Mounteer, Esq. is $325/hour;

                                                               16 the standard hourly rate of Jared M. Moser, Esq. is $275/hour; and, the

                                                               17 standard hourly rate of Collin M. Jayne, Esq. is $250/hour.            These are the
                                                               18 standard rates we charge on most, if not nearly all of our files.

                                                               19         5.    In this case, however, my colleagues and I are representing
                                                               20 Movant at a reduced rate whereby all attorneys are billed at the same rate of

                                                               21 $250/hour. As this Court is aware, this case is an off shoot of the Nevada

                                                               22 Action, which is a large, complex, and voluminous case. In anticipation of the

                                                               23 volume of work it would take to advance the Nevada Action to trial, and in an

                                                               24 effort to assist Movant to have the financial wherewithal to advance the case

                                                               25 against much bigger adversaries, MAC reduced its standard hourly rates.

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                                                                1        6.     MAC’s reduction of its standard hourly rates was inadvertently
                                                                2 unaccounted for in the Declaration [Dkt. No. 12] previously submitted.

                                                                3        Dated this 26th day of February, 2021.
                                                                4
                                                                                                        By      /s/ Chad F. Clement
                                                                5
                                                                                                             Counsel for Movant, Interior
                                                                6                                            Electric Incorporated Nevada
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MARQUIS AURBACH COFFING




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                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




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                                                                1                         CERTIFICATE OF SERVICE
                                                                2        I   hereby   certify   that    I   electronically   filed    the     foregoing
                                                                3 DECLARATION          OF CHAD F. CLEMENT, ESQ. CLARIFYING
                                                                4 ATTORNEYS’ HOURLY RATES with the Clerk of the Court for the United

                                                                5 States District Court by using the court’s CM/ECF system on the 26th day of

                                                                6 February, 2021.

                                                                7              I further certify that some of the participants in the case are not
                                                                8 registered CM/ECF users. I have mailed the foregoing document by First-Class

                                                                9 Mail, postage prepaid, or have dispatched it to a third-party commercial carrier

                                                               10 for delivery within 3 calendar days to the following non-CM/ECF participants:

                                                               11
MARQUIS AURBACH COFFING




                                                                                      Schiff & Shelton, Attorneys at Law, and
                                                               12                                Melinda Beverly
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                              c/o Ralph Shelton, Esq.
                                                               13                         3700 Campus Drive, Suite 202
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                                                             Newport Beach, CA 92660
                                                               14
                                                                               Attorney for the Subpoenaed Parties, Schiff & Shelton,
                                                               15                    Attorneys at Law, and for Melinda Beverly
                                                               16

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                                                               19                                  /s/ Lennie Fraga
                                                                                                  an employee of Marquis Aurbach Coffing
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